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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )
vs.                                          ) Case No.: 4:16-cr-159-AGF
                                             )
LOREN A. COPP,                               )
                                             )
       Defendant.                            )

                       MOTION FOR LEAVE TO FILE UNDER SEAL

       COMES NOW Defendant, Loren Copp, by and through counsel, and hereby moves this

Court for leave to file his Request to Receive Funds for Witness Subpoenas under seal. In

support of this motion, Defendant states as follows:

       1.      Defendant=s Motion contains privileged information not

ordinarily available to the public.

       WHEREFORE, Defendant respectfully requests this Honorable Court grant him leave to

file his Motion under file.



                                             Respectfully submitted,

                                             ROSENBLUM, SCHWARTZ AND FRY, PC

                                By:          /s/ Nathan T. Swanson        ____
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                                             Attorney for Defendant
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 10, 2019 the foregoing was electronically filed with the
Clerk of the Court to be served by operation of the Court’s electronic filing system upon
Assistant United States Attorney.




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